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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 DAVID JAWORSKI, SARAH KROTH,                       )
 MALCOLM ROBINSON, and PATRICK                      )
 ROMANO,                                            )       Case No. 1:23-cv-02240
                                                    )
                Plaintiffs,                         )       Judge Nancy L. Maldonado
                                                    )       Magistrate Judge Jeffrey T. Gilbert
                v.                                  )
                                                    )
 CHICAGO POLICE OFFICERS JAMES                      )
 TRIANAFILLO (#264), LUIS                           )
 LAURENZANA (#19637), DAVID FLOYD                   )       JURY DEMAND
 (#13262), LEONARD SHOSHI (#236),                   )
 CHARLES FLASTER (#15498), OFFICER                  )
 IN EXHIBIT D, OFFICER IN EXHIBIT E,                )
 OFFICER IN EXHIBIT F,                              )
 SUPERINTENDENT DAVID BROWN, and                    )
 CITY OF CHICAGO,                                   )
                                                    )
                Defendants.                         )
                                                    )

                              SECOND AMENDED COMPLAINT

       1.      During the summer of 2020, the United States was in the throes of the largest

social justice movement in history. In a repudiation of anti-Black racism, white supremacy,

police violence, and mass criminalization and incarceration, millions joined demonstrations

around the globe—often lifting up the names of George Floyd, Breonna Taylor, Tony McDade,

Jacob Blake, and too many other Black people killed by police.

       2.      Plaintiffs David Jaworski, Sarah Kroth, Malcolm Robinson, and Patrick Romano

as well as thousands of other organizers, activists, and community leaders in Chicago—multi-

racial and intergenerational in composition—engaged in a wide range of actions throughout the

summer of 2020, including rallies, marches, and other creative protests that consistently opposed




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racist police violence and demanded substantial changes, including the massive reduction of

taxpayer money being used to fund the Chicago Police Department (“CPD”).

       3.      The CPD and other City agencies responded to these demonstrations with brutal,

violent, and unconstitutional tactics that are clearly intended to injure, silence, and intimidate

Plaintiffs and other protesters. These abuse tactics include beating protesters with batons—often

striking them in the head; tackling and beating protesters while on the ground; using chemical

agents against protesters; falsely arresting protesters; and trapping protesters in enclosed areas.

       4.      CPD consistently targeted protest leaders, marshals, legal observers, medics, and

individuals recording the demonstrations with unlawful, retaliatory, and lethal force.

       5.      CPD also targeted protesters’ property—destroying cameras, phones, and

eyeglasses; and confiscating bikes, backpacks, and other belongings.

       6.      CPD officers’ animus against Plaintiffs and other protesters is unmistakable—

they regularly called protesters vile and vulgar names, often using misogynistic and homophobic

words. Officers were also aggressive, rude, disrespectful, and often affirmatively escalated

encounters through taunts, shoves, pushes, and other inappropriate behavior at these protests.

       7.      CPD’s response to the summer 2020 protests is consistent with the CPD’s long-

standing policies and practices of using abusive tactics and excessive force against protesters

seeking progressive social and political change.

       8.      These systemic and ongoing violations continue to occur despite the City of

Chicago being subject to a Consent Decree for almost two years. CPD’s documented failure to

comply with the Consent Decree deadlines coupled with its consistently illegal and violent

response to the summer 2020 protests demonstrate that the Consent Decree has entirely failed to

create any meaningful change in the CPD.



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        9.      CPD’s unconstitutional policies and practices against protesters has caused

significant harm, including the violation of their constitutional rights as well as physical,

emotional, and mental injuries.

                                   JURISDICTION AND VENUE

        10.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a). This

Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) over claims arising under Illinois

state law.

        11.     Venue is proper in this district under 28 U.S.C. § 1391(b) because the events

giving rise to the claims asserted in this complaint occurred in this judicial district.

                                                PARTIES

        12.     Plaintiff David Jaworski is a 29-year-old1 white resident who uses he/him

pronouns. Plaintiff Jaworski attended a protest in Grant Park on July 17, 2020.

        13.     Plaintiff Sarah Kroth is a 29-year-old white resident of Chicago, Illinois who uses

she/they pronouns. Plaintiff Kroth attended a protest in Grant Park on July 17, 2020.

        14.     Plaintiff Malcolm Robinson is a 20-year-old white resident of Chicago, Illinois

who uses he/him pronouns. Plaintiff Robinson attended a protest in Grant Park on July 17, 2020.

        15.     Plaintiff Patrick Romano is a 26-year-old white resident of Chicago, Illinois who

uses they/them pronouns. Plaintiff Romano attended a protest in Grant Park on July 17, 2020.

        16.     Defendant City of Chicago is and at all times mentioned herein was a

municipality organized and operating under the statutes of the State of Illinois. It is authorized

under the statutes of the State of Illinois to maintain the Chicago Police Department, which acts

as the City’s agent in the areas of municipal law enforcement, and for which the City is


1
  Plaintiffs’ ages listed here are their ages at the time the original complaint was filed on November 19,
2020.
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ultimately responsible. Defendant City was, at all times material to this Complaint, the employer

and principal of the Defendant Officers.

       17.     Defendant David Brown is the Superintendent of the Chicago Police Department.

At all times relevant to the events at issue in this case, Defendant Brown was employed by the

CPD. As such, he was acting under color of law. At all times relevant to the events at issue in

this case, Defendant Brown promulgated rules, regulations, policies, and procedures of the CPD.

Defendant Brown is responsible for supervising all CPD officers and managing all operations at

the CPD. He is sued here in his official and individual capacities.

       18.     Defendant Officers James Trianafillo (#264), Luiz Laurenzana (#19637), David

Floyd (#13262), Leonard Shoshi (#236), Charles Flaster (#15498), Officer in Exhibit E, Officer

in Exhibit F, Officer in Exhibit D, are City of Chicago employees with the CPD. At all times

relevant to the events at issue in this case, these defendants were acting under color of law and

within the scope of their employment with the CPD. They are sued in their individual capacity

for violating Plaintiffs’ rights guaranteed by the U.S. Constitution and Illinois state law.

                                  FACTUAL ALLEGATIONS

       I.      The CPD’s Violent and Unconstitutional Response to Protesters Throughout
               the Summer of 2020

       19.     On May 25, 2020, Minneapolis police officers murdered George Floyd when they

suffocated him to death while he was handcuffed in a prone position on the ground in broad

daylight on the street. Floyd begged to breathe, for his mother, and for his life, and witnesses

begged the officers to let him go, before he ultimately took his last breath.

       20.     Floyd’s murder and the police murder of Breonna Taylor in her home in

Louisville, Kentucky, in addition to recent police murders of too many additional Black people

throughout the United States, sparked the largest social justice movement in the history of the

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United States and has included protests around the world against anti-Black police violence,

white supremacy, systemic racism, and inequality.

       21.     Since May 29, 2020, there have been numerous protests and actions throughout

the City of Chicago—ranging in size from a few dozen people to thousands. These protests have

occurred all throughout Chicago, including in the Loop and on the South, West, and North sides,

and have been attended by people of all ages, races, and demographics. In particular, protests

occurred on May 29-May 31, June 1, July 17, and August 15, 2020.

       22.     The CPD responded to these protests with brutal, violent, and unconstitutional

tactics that were clearly intended to injure and silence protesters who were protesting their

violence and the violence of other state actors.

       23.     CPD officers consistently targeted protesters who were peacefully exercising their

First Amendment rights with unlawful, retaliatory, and lethal force.

       24.     Protesters often reported that CPD officers intentionally struck them on their head

with batons with enough force to leave people bloodied and in some instances with serious

concussions.




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        25.      On June 23, 2020, the Chicago Reader published an in-depth examination of the

CPD’s use of lethal force, including baton strikes to the head, during the May 2020 protests

(excluding protests in June, July, and August). The reporter documented:

        83 baton strikes on at least 32 different people by officers, most captured on video.
        Nearly all appear to violate [CPD] policy, with more than half of the strikes on video
        involving police beating people who were already on the ground. Multiple videos also
        show officers hitting protesters in the head with batons despite rules limiting these strikes
        to situations requiring deadly force.2

        26.      The Chicago Reader article notes that these unlawful uses of force often occurred

in full view of supervisors who failed to intervene and that most officers failed to report their

uses of force.

        27.      The CPD’s brutal response to these protests and protesters also included police

officers:

              a. driving CPD cars through crowds of protestors;
              b. punching protesters in the face;
              c. tackling protesters to the ground;
              d. kneeing protesters in the neck and back;
              e. kicking protesters in the legs to cause them to fall;
              f. jabbing batons into protesters’ bodies;
              g. trapping protesters on bridges, pushing protesters stranded on bridges, pinning
                 protesters against hard surfaces on bridges and other locations;
              h. using tear gas and pepper spray;
              i. dragging protesters through the streets;
              j. stomping on protesters on the ground; and
              k. beating protesters severely with batons.




2
  Andrew Fan and Dana Brozost-Keller, Cops Appear to violate use-of-force rules dozens of times at
protests, Chicago Reader (June 23, 2020), https://www.chicagoreader.com/chicago/police-baton-use-of-
force-protests/Content?oid=80849109.
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These acts of violence were wholly unwarranted and there was no objectively reasonable basis to

use such dangerous and violent force.

       28.     CPD officers also targeted those the CPD has identified as protest marshals, legal

observers, medics, or leaders with the most brutal violence apparently as part of a strategy to

quell the protesters’ free expression.

       29.     CPD officers also used violence on protesters who expressed concern or were

protesting that CPD officers were harming other people at the protests.

       30.     CPD officers also targeted those who were filming, or otherwise documenting

police violence at the protests, by pushing, shoving, brutalizing, and harassing them in the midst

of the protests. Often this resulted in confiscated or damaged cameras and recording equipment

and physical injury to protesters exercising their First Amendment right to record the police.

       31.     CPD officers were also aggressive, rude, disrespectful, and often affirmatively

escalated encounters through taunts, shoves, pushes and other inappropriate behavior at these

protests. CPD officers used particularly hostile language towards women and members of the

LGBTQ community.

       32.     CPD officers who violated protesters’ constitutional rights also routinely took

steps to conceal their identities—and thereby avoid accountability for their misconduct—by,

inter alia, covering and/or removing their name plates and badges, refusing to provide their

names and badge numbers when asked, obstructing protesters who attempted to view their name

plates and badges, and failing to complete paperwork to document their conduct.

       33.     CPD officers’ animus against protesters is unmistakable—they regularly referred

to protesters with terms that are vile, misogynistic, and anti-gay, including officers calling

protesters “pussy,” “cunt,” “bitch,” and “faggots,” and repeatedly use the word “fuck” when



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issuing commands. One officer threatened protesters by yelling “you fucking bitch,” and “wait

till I get my badge off, you fucking faggot.”3

        34.     CPD’s response to the protests also reflects a pattern and practice of breaking,

stealing, or otherwise disposing of protesters’ belongings, including bikes, cameras, phones,

glasses, goggles, backpacks, and, in some instances, canes used to assist with mobility.

        35.     CPD has also engaged in a systemic practice of illegal searches of protesters,

seizure of protesters, and false arrest of protesters.

        36.     Throughout the protests, the CPD has also engaged in racially motivated arrests of

protesters, even though the protests were attended by multi-racial crowds of people, the majority

of whom were white. According to CPD records, during the initial weekend of protests (May 29

– 31) CPD arrested 2,172 people. According to the Chicago Reader, the vast majority of those

arrested, over 70 percent, were Black Chicagoans; however, only 32 percent of the City of

Chicago identify as Black people.4

        37.     Despite widespread evidence of unchecked police violence, throughout these

events, former Mayor Lori Lightfoot praised the police for their “restraint.”

        38.     As of February 2021, protesters filed 591 protest-related complaints against CPD

officers. 58% of those complaints alleged excessive force and 9% alleged verbal abuse. The

number of protest complaints is so large, the Civilian Office of Police Accountability (“COPA”)

formed a specialized team of investigators solely dedicated to investigating these allegations.5 As


3
  John Wright, Chicago Officer Who Called Protester a ‘F-king Faggot’ Likely to Be Stripped of Police
Powers: WATCH, Towleroad (June 11, 2020), https://www.towleroad.com/2020/06/chicago-officer-who-
called-protester-a-f-king-faggot-likely-to-be-stripped-of-powers-watch/.
4
  Kiran Misra, Most of the people arrested at the protests were Black, Chicago Reader (June 30, 2020),
https://www.chicagoreader.com/chicago/protest-arrests-racial-disparity/Content?oid=81018291.
5
  Fran Spielman, CPA chief says recurring themes dominate complaints against CPD during civil unrest,
Chicago Sun-times (Nov. 10, 2020), https://chicago.suntimes.com/2020/11/10/21559391/chicago-police-
reform-copa-chief-recurring-themes-dominate-complaints-against-cpd-civil-unrest.
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a result of COPA’s preliminary investigations into the protest complaints, it referred 5 officers to

state/federal law enforcement for potential criminal prosecution and has recommended that 8

officers be assigned to modified duty and/or be relieved of police power.

       39.     During a City Council budget hearing, COPA’s Chief Administrator, Sydney

Roberts, informed City lawmakers that “several themes were prevalent” throughout the protest

complaints including “excessive use of batons,” “excessive verbal abuse” and the failure of

officers to comply with CPD’s body camera policy as well as policies requiring Chicago police

officers to display their names and badge numbers.6 Chief Roberts also noted that these themes

were so “consistent across multiple investigations” that she sent a memo to CPD leadership

urging it to “take immediate action to address the deficiencies.”7 Upon information and belief,

Defendant Superintendent Brown received Chief Robert’s memo during the Summer 2020

uprisings and failed to take any action to redress the documented deficiencies.

       40.      Pursuant to the relevant Chicago code provisions, Defendant Superintendent

Brown is “responsible for the general management and control of the Police Department” and

has “full and complete authority to administer the Department.”8 Defendant Superintendent

Brown made all command decisions about the Chicago Police Department’s systematic response

to protesters during the 2020 uprisings. Defendant Superintendent Brown, through actions both

explicit and implicit, authorized and directed the unlawful conduct described throughout this

complaint. He encouraged and permitted Chicago police officers to target, attack, and harass

protesters with violent animus and took no action to halt Chicago police officer’s systemic

violence against protesters for Black lives. Further, Defendant Superintendent Brown was



6
  Id.
7
  Id.
8
  Chicago Municipal Code § 2-84-040

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physically present for at least one protest where he described standing “shoulder to shoulder”

with Chicago police officers. During the protest(s) Defendant Superintendent Brown attended

personally, he failed to intervene to stop officer violence and misconduct.

       41.     In an apparent effort to justify and/or conceal his officers’ brutal violence and

unlawful conduct, Defendant Superintendent Brown made a number of false and misleading

statements to the media about the Summer 2020 uprisings and the actions of Chicago police

officers. For example, in reference to the August 15, 2020 downtown protest Defendant

Superintendent Brown stated that he and his officers “trailed along” the protesters until the

protesters became “confrontational” and began assaulting officers. Defendant Superintendent

Brown asserted that his officers did not engage in the practice of kettling (i.e., detaining a mass

of people without justification and failing to provide people opportunities to leave). After an

investigation, a media outlet labeled these assertions as “false” and found evidence of kettling

and video depicting Chicago police officers chasing demonstrators and witnesses who described

Chicago police officers attacking protesters who did not immediately disperse.9 The same outlet

also declared that Defendant Superintendent Brown publicly expressed a number of misleading

and unsubstantiated negative statements about protesters including that they carry mace and were

“agitators [who] hijacked a peaceful protest.”10

       42.     On October 13, 2020, Defendant Superintendent Brown acknowledged serious

ongoing and systemic deficiencies within the CPD during his address to new CPD recruits.

Defendant Superintendent Brown informed the recruits that “this civil unrest is about you.” He

informed them that they would be working alongside officers who “never should have been



9
   Jim Daley and Jason Schumer, Fact-Checking Police Supt. David Brown on August 15, South Side
Weekly (Sept. 2, 2020), https://southsideweekly.com/fact-checking-david-brown-august-15/.
10
    Id.

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hired” and “who have lost their way” and that, despite the existence of these officers, the new

recruits must “discern” right from wrong. During the same address, Defendant Superintendent

Brown also acknowledged that “good cops don’t tell on the bad cops” and that CPD has a culture

of “protecting each other” and that it is difficult for officers to “hold each other accountable.”11

        II.        Protesters’ Rights Were Violated at Protests Throughout the City

              A.    May 29-31, 2020 Demonstrations Downtown

        43.        In the wake of the police murders of George Floyd, Breonna Taylor, and other

Black people, there were massive demonstrations against anti-Black police violence in

downtown Chicago and the River North area over the weekend of May 29-31, 2020.




11
   ‘This Civil Unrest Is About You’: Police Superintendent David Brown Gives Passionate Speech to
New Recruits, NBC Chicago (Oct. 13, 2020), https://www.nbcchicago.com/top-videos-home/this-civil-
unrest-is-about-you-police-superintendent-david-brown-gives-passionate-speech-to-new-
recruits/2353284/.
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              B. May 31, 2020 Demonstration in Hyde Park

        44.      On May 31, 2020, several hundred individuals attended a protest in Hyde Park on

Chicago’s Southside. During this action, Chicago police officers targeted Black organizers and

activists with violent and often lethal force. Chicago police officers used particularly violent and

retaliatory force against prominent Black leaders who attempted to help other protesters navigate

a protest dispersal.

              C. June 1, 2020 Demonstrations in Uptown and Old Town

        45.      On June 1, 2020, several hundred people attended a demonstration in the Uptown

neighborhood in Chicago that began in the late afternoon. After a series of speeches, the

demonstration began to march on City streets, including on Lake Shore Drive. As the

demonstration continued on throughout the evening, the numbers of protesters began to dwindle.

As the numbers diminished, many protesters headed toward the Wilson stop of the CTA located

at Wilson and Broadway. At or near Wilson and Broadway, Chicago police officers without

warnings advanced on protesters and attacked them with batons.

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        46.      During the afternoon of June 1, 2020, scores of high school students and others

participated in a demonstration against anti-Black police violence in support of Black lives at

around Division and Larrabee in Old Town, Chicago. Chicago police officers, armed with

shields and batons, and some with the use of bicycles, walled off the streets and eventually

encircled the protesters. Without issuing any orders to disperse, Chicago police officers then

began using their bicycles, shields, or batons to push protesters back while yelling at them to

move, even though the protesters had nowhere to go because they were hemmed in by Chicago

police officers on all sides.

              D. July 17, 2020 Black, Indigenous Solidarity Rally (Decolonize Zhigaagoong) in
                 Grant Park

        47.      On July 17, 2020, hundreds of protesters participated in a demonstration to

demonstrate solidarity for Indigenous people’s struggles against colonization, genocide, and to

oppose the prominent tribute to Christopher Columbus, embodied by the statue of him in Grant

Park, Chicago.

        48.      The demonstration started at Buckingham Fountain with a series of speeches and

prayer, and later progressed into a march that headed south on Columbus Drive to Grant Park.

        49.      At Grant Park, protesters marched into the park and surrounded the statue of

Columbus, which was heavily guarded by Chicago police officers.

        50.      A small group of individuals in the protest threw frozen water bottles and other

objects at the Chicago police officers, causing the officers to retreat from the statue and the park.

These handful of protesters then attempted to pull the statue down with rope.

        51.      Chicago police officers then returned to the park attempting to retake the statue

and in the process engaged in extreme forms of violence in retaliation for the actions of a small

minority.

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       52.     Police officers descended into the park swinging their batons and hitting people’s

heads and bodies, indiscriminately using pepper spray or tear gas on the entire crowd of

demonstrators, without justification, causing many people to experience trouble breathing, and

engaging in other forms of violence.




       53.     In addition to the excessive force, Chicago police officers forcibly took over 70




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bicycles away from the protesters and refused to return them that evening.12

                       i. July 17, 2020 Abuse of Plaintiff David Jaworski (Grant Park)

        54.        On July 17, 2020, Plaintiff David Jaworski rode his bicycle to attend the Black,

Indigenous Solidarity Rally (Decolonize Zigaggoong) in Grant Park arriving between 5:00 p.m.

and 6:00 p.m.

        55.        Plaintiff Jaworski marched with others to the Columbus statue in Grant Park and

parked his bicycle in front of protesters near the west side of the statue.

        56.        Plaintiff Jaworski heard screaming and cries for help and positioned himself and

his bicycle to protect unarmed protesters fearful of a surging line of baton wielding Chicago

police officers.

        57.        The Chicago police provided no verbal directions and no orders to disperse before

they stormed into the park. Without cause or provocation, Defendant Sergeant James Trianafillo

(#264) approached Plaintiff Jaworski and grabbed him by his throat with both hands and threw

him to the ground.




12
   Monica Eng, What Happened to the 76 Bikes Chicago Police Took After Friday’s Clash with
Protesters?, WBEZ (July 21, 2020), https://www.wbez.org/stories/what-happened-to-the-76-bikes-
chicago-police-took-after-fridays-clash-with-protesters/ae29fb14-3189-4044-9896-c1d416b5c515.
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        58.    Plaintiff Jaworski tried to get back on his feet and was pushed again to the

ground. Plaintiff Jaworski was trampled and his foot got caught in the spokes of a bicycle,

causing a bone in his toe to snap.

        59.    Plaintiff Jaworski picked up his damaged bicycle and hobbled away, trying to

leave the area only to find he, along with other protesters, was surrounded by Chicago police

officers.

        60.    Plaintiff Jaworski then observed a reddish orange cloud of pepper spray or tear

gas and those around him began to cough.

        61.    He heard cries for medical assistance as people around him struggled and gasped

for air through their masks.

        62.    Defendant Jaworski did not physically attack, assault, threaten, or resist

Defendant Trianafillo or any other officer at any time or in any way.



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           63.   Plaintiff Jaworski did not commit any unlawful act and was engaging in

constitutionally protected activity.

           64.   At the time the officers used excessive force against Plaintiff Jaworski, the

officers knew that Plaintiff Jaworski was participating in a public demonstration, and, based on

that participation, the officers acted in a punitive and retaliatory manner toward Plaintiff

Jaworski.

           65.   As a direct and proximate result of the Defendant’s actions as detailed above,

Plaintiff Jaworski suffered and continues to suffer, inter alia, bodily injury, pain and suffering,

extreme mental distress, anguish, and fear as well as damage to his property and wages.

                      ii.     July 17, 2020 Beating of Plaintiff Sarah Kroth (Grant Park)

           66.   On July 17, 2020, Plaintiff Sarah Kroth went to Buckingham Fountain to participate

in the Black, Indigenous Solidarity Rally (Decolonize Zhigaagoong) in Grant Park.

           67.   Plaintiff Kroth had her bicycle with her, which she carried with her throughout the

protest.

           68.   At some point between 7:00 p.m. and 8:00 p.m., Plaintiff Kroth followed the

protest march to the Columbus statue.

           69.   Near the statue, Chicago police officers wearing riot gear had established a

skirmish line. Plaintiff Kroth was near the front of the line.

           70.   Other protesters began locking arms and bikes as part of a group shield against the

Chicago police officers.

           71.   The Chicago police officers in the skirmish line began to advance and push

against Plaintiff Kroth and other protesters.

           72.   Plaintiff Kroth was holding on to her bicycle during this time. A Chicago police



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officer grabbed a hold of the bicycle and began pulling it away from her.

        73.    One or more unidentified Chicago police officers then began grabbing a hold of

Plaintiff Kroth and unjustifiably striking her with batons about her body, including blows to her

head.

        74.     After the Chicago police officers began striking Plaintiff Kroth and other

protesters, they gave orders for the protesters to move, but did not give an opportunity for the

protesters to leave.

        75.     Multiple Chicago police officers, including the Defendant Officer depicted in

Exhibit E, grabbed onto Plaintiff Kroth and/or her bicycle, and threw both her and her bicycle to

the ground. One of those officers said “Fuck your bike, fuck your bag.” The Defendant Officer

depicted in Exhibit E then grabbed Plaintiff Kroth’s bicycle and threw it.




                                            Exhibit E


        76.     Plaintiff Kroth crawled away and then walked away from the assault.




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       77.      Plaintiff Kroth then received medical attention from a street medic for her elbow,

which was bleeding badly.

       78.     The Defendant Officer depicted in Exhibit F and Defendant Officer Luis

Laurenzana (#19637) took Plaintiff Kroth’s bicycle and discarded it. In the process, Plaintiff

Kroth’s bicycle was dragged and thrown to the ground.




                                              Exhibit F

       79.      Plaintiff was later able to recover the bicycle, which had been significantly

damaged due to the actions of Defendants Officer in Exhibit E, Officer in Exhibit F, Officer Luis

Laurenzana, and other as yet unidentified Chicago police officers.

       80.      As a result of the Defendant Officers’ unlawful use of force, Plaintiff Kroth

had injuries to her elbow and bruises about her body.

       81.      Defendant Officers’ actions caused substantial damage to Plaintiff’s

bike, requiring her to pay for repairs at a bike shop.




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          82.    Plaintiff subsequently received medical treatment on July 18, 2020 for

her physical injuries, including the gash on her elbow, which required stitches.

          83.    Plaintiff Kroth did not physically attack, assault, threaten or resist any of

the Defendant Officers or any other police officer at any time or in any way.

          84.    Plaintiff Kroth did not commit any unlawful act and was engaging in

constitutionally protected activity.

          85.    At the time the officers used excessive force against Plaintiff Kroth, the officers

knew that Plaintiff Kroth was participating in a public demonstration, and, based on that

participation, the officers acted in a punitive and retaliatory manner toward Plaintiff Kroth.

          86.    As a direct and proximate result of the Defendant Officers’ actions as detailed

above, Plaintiff Kroth suffered and continues to suffer, inter alia, bodily injury, pain and

suffering, loss of property, extreme mental distress, anguish, and fear, in addition to medical

expenses and property damage.

                      iii.    July 17, 2020 Beating of Plaintiff Malcolm Robinson (Grant
                              Park)

          87.    On July 17, 2020, Plaintiff Robinson went to Buckingham Fountain to participate

in the Black, Indigenous Solidarity Rally (Decolonize Zhigaagoong) in Grant Park.

          88.    After listening to speeches and watching Indigenous prayer ceremonies, Plaintiff

Robinson began marching with his bicycle to the Columbus statue. Plaintiff Robinson arrived at

the grassy hill between the statue and Roosevelt Road and began observing protesters gathering

at the statue.

          89.    Several minutes later, Plaintiff Robinson observed Chicago police officers storm

down the hill towards the statue and begin pepper spraying protesters and beating protesters with

batons.

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          90.   At approximately 7:30 p.m., Defendant Officer David Floyd (#13262) approached

Plaintiff Robinson and grabbed Plaintiff Robinson’s bike with both hands for no justifiable

reason.

          91.   Defendant Officer Floyd then repeatedly shoved the bike into Plaintiff Robinson,

striking him with it approximately 10 times, breaking his right middle finger, and causing him to

fall and strike his head on the ground.

          92.   Once Plaintiff Robinson was on the ground, Defendant Officer Floyd discarded

his bike and stomped on his hands and legs and kicked his back and side.

          93.   Once the beating was over, Plaintiff Robinson retrieved his bike and proceeded to

the top of the hill towards Roosevelt Road.

          94.   Plaintiff Robinson then observed an unidentified Chicago police officer striking

another protester with his baton. When Plaintiff Robinson approached the attacking officer to

check on the protester being beat, the officer struck Plaintiff Robinson on his right elbow with a

baton, spraining Plaintiff Robinson’s elbow.

          95.   This unidentified Chicago police officer then shoved Plaintiff Robinson with both

hands and he flew back, rolling down the hill and striking his head on the ground again, causing

him to sustain a concussion.

          96.   Plaintiff Robinson observed the same Defendant Officer walking away with

Plaintiff Robinson’s bike. Plaintiff Robinson followed after the officer, asking for his bike back.

The officer refused to return the bike to Plaintiff Robinson. Plaintiff Robinson never got back his

bike.

          97.   Plaintiff Robinson received medical treatment from a medic on site for his injuries

and left the area.



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       98.     The next day, Plaintiff Robinson received medical treatment for his injuries.

       99.     Plaintiff Robinson experienced pain in his elbow and back, which made it

difficult to exercise and complete basic tasks at work.

       100.    Plaintiff Robinson did not physically attack, assault, threaten, or resist the

Defendant Officers or any other officer at any time or in any way.

       101.    Plaintiff Robinson did not commit any unlawful act and was engaging in

constitutionally protected activity.

       102.    At the time the officers used excessive force against Plaintiff Robinson, the

officers knew that Plaintiff Robinson was participating in a public demonstration, and, based on

that participation, the officers acted in a punitive and retaliatory manner toward Plaintiff

Robinson.

       103.    As a direct and proximate result of the actions by the Defendant Officers detailed

above, Plaintiff Robinson suffered and continues to suffer, inter alia, bodily injuries including a

broken finger, sprained elbow, a concussion, bruising on his arms, legs, and back, as well as pain

and suffering, extreme mental distress, anguish, fear, and loss of property.

                     iv.     July 17, 2020 Beating and False Arrest of Patrick Romano
                             (Grant Park)

       104.    On July 17, 2020, at around 5:00 p.m., Plaintiff Romano arrived at Buckingham

Fountain in Grant Park to attend the Black, Indigenous Solidarity Rally (Decolonize

Zhigaagoong). After the rally, Plaintiff Romano marched with the crowd to the Columbus statue.

       105.    When Plaintiff Romano arrived at the Columbus statue, they witnessed Chicago

police officers pepper spraying or tear gassing large groups of protesters who were holding

umbrellas. Plaintiff Romano also witnessed officers violently taking bikes away from protesters

and beating protesters with batons.

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        106.    Two unidentified Chicago police officers grabbed Plaintiff Romano’s arms and

yanked them from the crowd without justification.

        107.    The two Chicago police officers held Plaintiff Romano’s arms while one or more

unidentified Chicago police officers beat both of Plaintiff Romano’s calves with batons, causing

them significant pain.

        108.    One or more of the Chicago Police officers also punched Plaintiff Romano in the

chest and back.

        109.    One or more of the Chicago police officers also ripped off both of Plaintiff

Romano’s shoes and their mask.

        110.    After beating Plaintiff Romano, one or more of the unidentified Chicago police

officers then bound Plaintiff Romano’s wrists using zip-ties and arrested them for no justifiable

reason. The officers secured these ties so tightly that it cut off Plaintiff Romano’s circulation in

their wrists.




        111.    Defendants Officer Charles Flaster (#15498) and the Defendant Officer depicted

in Exhibit D on the left proceeded to forcibly move Plaintiff Romano across Columbus Drive,

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which is four lanes wide. In the process, Plaintiff Romano’s toe was cut and bleeding because

they no longer had on their shoes.




                                                Exhibit D

       112.    When Plaintiff Romano asked the officers if they could get their shoes, a Chicago

police officer replied, “fuck you, you smelly bitch” and told them to “shut the fuck up.”

       113.    As Plaintiff Romano was being forcibly moved by Chicago police officers, they

yelled out their name and birthdate so that others would be able to find and identify them if they

were taken to jail.

       114.    Chicago police officers shoved Plaintiff Romano into a squadrol with another

protester who was bleeding heavily from an open head wound and under serious emotional

distress. Because the protester was covered in blood, Plaintiff Romano yelled for the officers to

get medical attention. After one Chicago police officer asked what was wrong with the bleeding

protester, it took approximately twenty more minutes for the protester to be seen by the EMTs.

       115.    Plaintiff Romano was brought to the 1st District police station at 18th and State

and chained to a bench for around 6 hours. Plaintiff Romano was never told why they were being

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detained or what charges they faced. Plaintiff did not receive any water, food, or access to a

bathroom. They were not given an opportunity to make a phone call, were not given access to a

lawyer, and were not given any medical treatment.

         116.   Defendant Officer Leonard Shoshi (#236) was listed as Plaintiff Romano’s

arresting officer on the police report.

         117.   At around 1:00 a.m. on July 18, 2020, Plaintiff Romano was released from

the station with no charges. They were released with no shoes, no property, and their right

leg was injured causing them to limp.

         118.   At no point during the demonstration did Plaintiff Romano hear a dispersal

order.

         119.   Plaintiff Romano did not physically attack, assault, threaten, or resist the

Defendant Officers or any other Chicago police officer at any time or in any way.

         120.   Plaintiff Romano did not commit any unlawful act and was engaging

in constitutionally protected activity.

         121.   At the time the officers used excessive force against Plaintiff Romano, the

officers knew that Plaintiff Romano was participating in a public demonstration, and, based on

that participation, the officers acted in a punitive and retaliatory manner toward Plaintiff

Romano.

         122.   As a direct and proximate result of the Defendant Officers’ actions as detailed

above, Plaintiff Romano suffered and continues to suffer, inter alia, bodily injury to both of their

legs, their chest, and their back, pain and suffering, trouble sleeping, extreme mental distress,

anguish, fear, and the loss of their shoes.

            E. August 15, 2020 Demonstration Downtown



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       123.    On August 15, 2020, hundreds of protesters participated in a demonstration

downtown that began in the afternoon. The protesters started at Millennium Park and marched

through the streets of downtown before Chicago police officers blocked their route and became

aggressive. Officers surrounded protesters on all sides, engaging in the unlawful tactic of

“kettling,” and brutally beat many protesters, including youth.




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   III.   CPD’s Policy and Practice Failures: Using Force Against Protesters,
          Unreasonable Force When No Force Is Required, and Failure to
          Discipline/Code of Silence
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         124.    The City’s long standing policies, practices, and customs for shutting down

protests are the direct and proximate cause of the constitutional violations outlined in this

Complaint. The Plaintiffs suffered abuse at the hands of Chicago police officers and each

instance of harm was a direct result of the City’s deficient polices and practices as detailed

below.


            A.    CPD’s Policy and Practice of Using Unreasonable Force, Violence, and
                  False Arrests to Quell Protest

         125.    CPD’s actions during the summer of 2020 were far from isolated incidents. The

violations of Plaintiffs’ constitutional rights were the result of the CPD’s longstanding policies

and practices of attempting to quell protest through unconstitutional tactics against protesters

including excessive force, violence, and false arrests.

         126.    CPD has demonstrated a widespread practice of inflicting unconstitutional

violence on people exercising their right to assemble and protest, along with unlawfully

depriving people of their freedom in retaliation for their protest activities.

Some notable examples include:

            a.   On April 23, 1990, CPD responded to an AIDS Coalition to Unleash Power

                 (“ACT-UP”) protest by pushing, shoving, tackling, and throwing protesters to the

                 ground, and falsely arresting protesters.

            b. On December 29, 1990, CPD responded to a Gulf War protest by striking

                 protesters in the face, placing them in choke-holds, and conducting false arrests

                 against bystanders opposing their conduct and concert-goers simply leaving the

                 venue.

            c. On June 24, 1991, CPD used forced against protesters at another ACT-UP

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         demonstration. One officer threw a protester on the pavement, punched him in

         the face, and falsely arrested him. A dozen other ACT-UP activists who suffered

         serious injuries including bruises and contusions, a fractured wrist, and head

         injuries all filed excessive force lawsuits, which were settled by the City for

         substantial money damages.

      d. During the Democratic National Convention in August 1996, CPD falsely

         arrested and injured several protesters. More than half a dozen plaintiffs brought

         an excessive force and false arrest lawsuit that was settled by the City for

         substantial money damages.

      e. On March 20, 2003, CPD responded to a mass demonstration and march against

         the War in Iraq by trapping over 800 protesters and by-standers on Chicago

         Avenue without giving people orders to disperse and opportunities to leave, and

         arresting over 500 people. CPD also engaged in excessive force, which included

         storming into the crowd and striking people with batons. A federal class action

         lawsuit filed against the City on behalf of the protesters, which included a claim

         for municipal liability under Monell, ultimately settled for approximately $15

         million.

      f. On August 17, 2011, CPD responded to an anti-deportation demonstration by

         hitting two legal observers in the face and falsely arresting the legal observers

         after they attempted to assist a young woman and child that had been battered by

         a CPD officer.

      g. On March 11, 2016, CPD responded to an anti-Trump demonstration by pushing

         protesters with batons, physically attacking protesters, and falsely arresting



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                protesters. One woman was thrown to the ground by her hair, kicked on her body,

                and beat with batons on her head and body, and falsely arrested by CPD

                officers. CPD officers also attacked and falsely arrested a member of the press.

           B.    CPD’s Widespread Practice of Excessive Force

       127.     The CPD’s violence and brutality against protesters is consistent with the

Department’s widespread policy and practice of using aggressive tactics that unnecessarily

escalate encounters with individuals, increase tensions, and lead to excessive force. The CPD

also fails to de-escalate encounters when it would be reasonable to do so. Even where some use

of force may be justified, officers, as a matter of practice, use a higher level of force than is

objectively reasonable. CPD’s violence against protesters—and particularly against protesters

who stand in opposition to police violence, corruption, and racism—is an extension of CPD’s

long standing, widespread practice of excessive force. This widespread practice of violence has

been documented and acknowledged by the DOJ, the Chicago Police Accountability Task Force

(the “Task Force”), the federal courts, civil rights activists, City officials—including the Mayor

and Superintendent of Police—and, above all, by the Black communities most targeted by CPD

for violence and abuse.

       128.     In April 2016, the Task Force released a report about the system of training,

accountability, and oversight of CPD officers (the “Task Force Report”). It found: “The

community’s lack of trust in CPD is justified. There is substantial evidence that people of

color—particularly African-Americans—have had disproportionately negative experiences with

the police over an extended period of time. There is also substantial evidence that these

experiences continue today through significant disparate impacts associated with the use of

force, foot and traffic stops and bias in the police oversight system itself.”



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       129.    The Task Force reported that racial bias in the CPD was “not a thing of the past.”

Instead, “data establishes that CPD’s use of force disproportionately affects people of color. The

same is true for foot and traffic stops. These enforcement actions have deepened a widespread

perception that police are indiscriminately targeting anyone and everyone in communities of

color without making individualized determinations of reasonable suspicion of criminal conduct.

Racial bias extends to other areas as well, including the police oversight system itself.”

       130.    In 2015, the Department of Justice, Civil Rights Division, Special Litigation

Section, and the U.S. Attorney’s Office for the Northern District of Illinois jointly initiated an

investigation of the CPD and the accountability body charged with overseeing the police—the

Independent Police Review Authority (“IPRA”). This investigation was undertaken to determine

whether the CPD was engaging in a pattern or practice of unlawful conduct and, if so, what

systemic deficiencies or practices within the CPD, IPRA, and the City constituted this pattern or

practice. The DOJ investigation assessed the CPD’s use of force, and addressed CPD policies,

training, reporting, investigation, and review related to officer use of force.

       131.     In January 2017, the DOJ finished its investigation and released its findings (the

“DOJ Findings Report”). In accordance with the allegations herein, the DOJ Findings Report

concluded that “CPD officers engage in a pattern or practice of using force that is unjustified,

disproportionate, and otherwise excessive . . . CPD officers use unnecessary and unreasonable

force in violation of the Constitution with frequency, and that unconstitutional force has been

historically tolerated by CPD.”

       132.     Based on its review of complaints, the DOJ determined that uses of force by the

CPD “were not aberrational.” Instead, “our holistic review of this information, combined with

our investigation of CPD’s training, supervision, accountability, and other systems, give us



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reasonable cause to believe that the unreasonable force we identified amounts to a pattern or

practice of unlawful conduct.”

       133.    The CPD’s pattern or practice of unreasonable force also includes the

unnecessary, unjustified use of excessive, less-than-lethal force, including with Tasers, batons,

emergency takedowns, body slamming, and hand-to-hand combat. According to the DOJ, the

use of unreasonable force to quickly resolve non-violent encounters is a recurrent issue at CPD.

       134.    The CPD, as a matter of pattern and practice, relies upon overly aggressive tactics

that unnecessarily escalate encounters with individuals, increase tensions, and lead to excessive

force. The CPD also fails to de-escalate encounters when it would be reasonable to do so.

       135.    The DOJ observed this trend of escalation in shootings, finding that CPD officers

regularly engaged in “unnecessarily escalating confrontations,” which resulted in “avoidable

uses of force and resulting harm, including deaths.” The DOJ also reported that CPD officers

regularly use retaliatory force against people who object to being stopped, without cause.

       136.    In one incident recorded by the DOJ, officers forcibly brought a man to the

ground because he stiffened and locked his arms while they were arresting him for walking his

dog without a leash and refusing to present identification. Officers provided no justification for

the level of force they used. They failed to explain why they did not attempt to resolve the

situation with common (and common sense) de-escalation techniques.

       137.    The Task Force similarly found “many examples of CPD encounters with citizens

in routine situations that have gone tragically wrong.” The Task Force acknowledged

widespread reports from Chicagoans that officers approach “routine situations with an

overaggressive and hostile demeanor, using racially charged and abusive language.”

       138.    The DOJ investigation and the Task Force findings directly resulted from the



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uprisings that occurred in the aftermath of the 2015 release of the video depicting CPD Officer

Jason Van Dyke murder Black teenager Laquan McDonald. Some of the groups that provided

foundation, leadership, and support for these uprisings, including Black Lives Matter-Chicago,

filed a lawsuit seeking a consent decree that would govern CPD operations and prevent future

abuse and racialized violence and won the right to enforce the Consent Decree that ultimately

resulted from litigation filed by the Illinois Attorney General.13 Even though the Consent Decree

contains a number of provisions that should have remedied the policy and practice violations

described in this Complaint, as described fully below, CPD has entirely failed to conform its

practices to Consent Decree mandates.

             C.    The CPD Has Wholly Disregarded Consent Decree Requirements

        139.      An Independent Monitoring Team (“IMT”), overseen by Judge Robert M. Dow,

Jr., assesses the City and CPD’s compliance with the Consent Decree in biannual reports. (Each

report assesses a portion of the paragraphs of the Consent Decree and will assess all paragraphs

at the end of three years.) The IMT has so far issued two reports with a clear trend across both:

the City and CPD have failed to comply with the reform schedule. In the first report, the City

and CPD failed to meet even preliminary compliance standards for 52 of 67 paragraphs of the

Consent Decree. The City and CPD missed 37 of 50 deadlines. The City’s record in the second

report was no better. In that report, filed on June 18, 2020, the City and CPD missed 52 of 74

deadlines.

        140.      The City’s non-compliance and missed deadlines bear directly on CPD’s civil

rights abuses at the recent protests. CPD failed to create adequate policies and procedures for



13
    Organizations represented by the ACLU of Illinois and the Attorney General of the State of Illinois
later filed their own lawsuits and eventually, these efforts resulted in a Consent Decree that has been in
effect since April 2019.
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use of force, impartial policing, and crisis intervention and failed to revise relevant use of force

and accountability policies.

       141.    In its First Report (1:17-cv-06260 “Report 1”) filed on November 15, 2019, the

IMT described the CPD’s consistent failures across the assessed paragraphs of the Consent

Decree. In terms of impartial policing, ¶ 58 requires that the CPD establish a policy to permit

“members of the public to photograph and record CPD officers in the performance of their law

enforcement duties.” CPD failed to meet any level of compliance with the paragraph or the

corresponding deadline in the Consent Decree. Even so, the IMT described the ¶ 58 policy as

“necessary” given CPD unwillingness to be photographed. (Report 1 at 50.) Furthermore, the

CPD refused to allow for community engagement in the creation of the draft policy, which is a

requirement of the Consent Decree. See ¶ 52.

       142.    In terms of use of force, CPD missed 16 out of 19 deadlines, and failed even

preliminary compliance for 19 out of 25 Consent Decree paragraphs. CPD did not achieve

secondary or full compliance in any paragraphs concerning use of force. CPD’s use of force

failures break down into policy and reporting deficits. When reviewing the CPD’s approach to

use of force generally, the IMT explicitly recommended that “the CPD provide more detailed

examples of various de-escalation techniques in each policy, rather than rely on the boilerplate

language that is at the front end of each policy.” (Report 1 at 85.)

       143.    The Consent Decree requires that every two years, the IMT conduct a reliable,

representative, and comprehensive survey of broad cross sections of Chicago’s communities.

The most recent survey, released in August 2020, reveals that community members are well

aware of CPD’s failures to comply with the Consent Decree requirements. Less than half of

people surveyed believe that CPD generally uses forces appropriately or adequately de-escalates



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situations.

        144.     The Consent Decree provisions related to the allegations in this Complaint

include a number of provisions, that, if meaningfully implemented by the CPD prior to the

Summer 2020 uprisings, were intended to prevent the injuries detailed in this Complaint. These

provisions include the following requirements and prohibitions:

              a. Chicago police officers must not use impact weapons (e.g., baton, asp, improvised

                 impact weapons) to intentionally strike a subject in the head or neck, except when

                 deadly force is justified.

              b. When safe and feasible to do so, Chicago police officers must give verbal

                 commands and warnings prior to, during, and after using an impact weapon.

              c. Chicago police officers must receive training on proper use of an impact weapon

                 before being permitted to carry such a weapon.

              d. Chicago police officers must request appropriate medical aid for a subject who

                 experiences an impact weapon strike when the subject appears to be in any

                 physical distress or complains of injury, or when the subject sustained a strike to

                 the head from an impact weapon or a hard, fixed object. Chicago police officers

                 must render life-saving aid to the subject consistent with the officers’ training

                 until medical professionals arrive on scene.

              e. Chicago police officers may only use force for a lawful purpose. Chicago police

                 officers are prohibited from using force as punishment or retaliation, such as

                 using force to punish or retaliate against a person for fleeing, resisting arrest,

                 insulting an officer, or engaging in protected First Amendment activity (e.g.,

                 lawful demonstrations, protected speech, observing or filming police activity, or



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                criticizing an officer or the officer’s conduct).

           f. The CPD will clarify in policy that Chicago police officers will permit members

                of the public to photograph and record Chicago police officers in the performance

                of their law enforcement duties in a public place, or in circumstances in which the

                officer has no reasonable expectation of privacy.

           g. Chicago police officers will allow individuals to voluntarily comply with lawful

                orders whenever safe and feasible (e.g., allowing individuals the opportunity to

                submit to arrest before force is used).

           h. Chicago police officers may only use OC devices for crowd dispersal when such

                force is necessary, objectively reasonable, and proportional to the threat presented

                to public safety. CPD will continue to require that the Superintendent or his or

                her designee provides authorization before OC devices are used for noncompliant

                groups, crowds, or an individual taking part in a group or crowd.

           i. The CPD will require that all Chicago police officers interact with all members of

                the public in an unbiased, fair, and respectful manner. The CPD will require that

                officers refrain from using language or taking action intended to taunt or denigrate

                an individual, including using racist or derogatory language.

           D.     The CPD’s Widespread Code of Silence and Failure to Discipline Abusive
                  Officers

       145.     The CPD has maintained its widespread practice of excessive force for well over

100 years through promoting the “code of silence” and the failure to discipline Chicago police

officers trained and required to lie or remain silent about police misconduct, including the use of

excessive force and discriminatory policing. Any officer who violates this code is penalized by

the CPD.

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       146.    Police officers are educated at the CPD about the tenets of this code of silence.

They are instructed: “[W]e do not break the code of silence. Blue is Blue. You stick together. If

something occurs on the street that you don’t think is proper, you go with the flow. And after

that situation, if you have an issue with that officer or what happened, you can confront them. If

you don’t feel comfortable working with them anymore, you can go to the watch commander and

request a new partner. But you never break the code of silence.”

       147.    In Obrycka v. City of Chicago et al., No. 07-cv-2372 (N.D. Ill.), a federal jury

found that, as of February 2007, the City of Chicago “had a widespread custom and/or practice

of failing to investigate and/or discipline its officers and/or code of silence.”

       148.    In December 2015, in a speech to Chicago aldermen, Mayor Emanuel

acknowledged that Chicago police use a “code of silence” to conceal abuses and wrongdoing by

their colleagues.

       149.    In April 2016, the Task Force found that the code of silence is “institutionalized

and reinforced by CPD rules and policies that are also baked into the labor agreements between

the various police unions and the City.”

       150.    The DOJ investigation confirmed that the code of silence pervades the CPD:

“City, police officers and leadership within CPD and its police officer union acknowledge that a

code of silence among Chicago police officers exists, extending to lying and affirmative efforts

to conceal evidence.” One CPD sergeant informed DOJ investigators that “if someone comes

forward as a whistleblower in the Department, they are dead on the street.” The code of silence

extends, as the DOJ found, to sergeants and other supervisors who take affirmative actions to

cover up the misconduct of their subordinates.

       151.    The DOJ determined that the code is “strong enough to incite officers to lie even



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when they have little to lose by telling the truth.” This is because “officers do not believe there

is much to lose by lying.”

       152.    The CPD maintains a policy, practice, and custom of failing to discipline,

supervise, monitor, and control its officers, including the Defendant Officers. Consequently, the

City allows its officers to believe they can abuse and violate the rights of individuals without

consequence. These policies, practices, and customs directly contribute to the code of silence.

       153.    According to the Citizens Police Data Project, between 1988 and 2020, only 3%

of all complaints that CPD officers engaged in excessive force resulted in any discipline for the

officer and only 1% of complaints related to First Amendment violations resulted in discipline.

The DOJ reported that in the rare instance where a complaint of misconduct was sustained,

“discipline is haphazard and unpredictable, and is meted out in a way that does little to deter

misconduct.”

       154.    Given the systematic lack of discipline, CPD officers are allowed to amass dozens

of complaints without penalty. From 2007 to 2015, more than 1,500 Chicago police officers

acquired ten or more Complaint Registers (“CRs”). Sixty-five of these officers had 30 or more

CRs. These numbers do not reflect the entire disciplinary history (e.g., pre-2007) of these

officers. They also underreport the problem. While the CPD collects data on officer

performance, including complaints and lawsuits, data is often incomplete and analysis is limited.

       155.    Given the lack of effective review or discipline, officers often use the same or

similar language to justify their use of force. As the DOJ determined: “We saw many instances

where officers justified force based on a boilerplate description of resistance that provides

insufficient specificity to understand the force used or resistance encountered.” The CPD

regularly accepts such insufficient documentation without question, even when an officer’s use



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of force is suspect or gives rise to a formal complaint.

       156.    While a number of Consent Decree provisions aim to eliminate the code of

silence, the CPD has failed to comply with these terms. IMT reports overarching concerns about

the entire complaint process. Specifically, the CPD failed to implement a policy in which the

public knows how to submit complaints and that they may do so in multiple ways (¶¶ 425-

26). The IMT found that, for anyone looking for more information on filing complaints, the

reporting page and helpful resources are hard to find. The CPD reporting website is not user

friendly, especially for non-English speakers.

       157.    Furthermore, the CPD failed to ensure that officers who report misconduct receive

protection (¶ 436). The CPD also failed to create a written policy detailing how complaints will

be transferred to the Accountability Sergeant (¶ 457). The draft policy the CPD created “does

not specifically address why, when, or how an investigation will be transferred.” Further, the

CPD has failed to support the implementation of a “completely anonymous, double-blind safe

space portal” developed by the Officer of Inspector General, Joseph Ferguson. The portal

intended to facilitate anonymous complaints from Chicago police department officers, but

CPDhas failed to take the actions necessary to ensure that it is used to defeat the code of silence.

       158.    In the Second IMT Report (1:17-cv-06260), filed June 18, 2020, the CPD

continued its pattern of systematic non-compliance with the assessed paragraphs of the Consent

Decree. The CPD’s failures relate directly to the abuses witnessed at the recent protests.

   E. Governmental Reports and an Investigation by the Federal Consent Decree Monitor
      Document CPD’s Widespread Policy and Practice Violations During the 2020
      Uprisings

       159.    In February 2021, the Chicago Police Department released a 26-page report: After

Action Report: The Chicago Police Department’s Response to Civil Unrest between May 29,



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2020 and June 12, 2020.14 CPD’s After Action report failed to address many of the obvious

policy and practice failures identified throughout this complaint (including but not limited to the

use of lethal force against peaceful protesters). However, in this report, the CPD makes a

number of key admissions about its failed response to the 2020 uprisings. Those admissions

include:

                      i. CPD officers were not prepared to respond to “large-scale, unplanned

                         incidents.”15

                     ii. CPD’s training failed to prepare newer officers for wide scale protests and

                         CPD officers failed to comply with existing policies regarding mass

                         arrests.16

                    iii. CPD officers were deployed to respond to the protests without any

                         “specific plans”—a decision the CPD calls “ineffective.”17

                    iv. “[S]ome Department members were observed during the Events with their

                         names and/or badges removed from their uniforms or otherwise obscured

                         in violation of Department policy.”18

        160.     The CPD’s After Action report is also important for what it omits. For example,

it failed to note CPD officer’s well documented policy violations relating to batons and other

uses of force.19 The report also fails to mention the physical and emotional trauma protesters


14
   After Action Report: The Chicago Police Department’s Response to Civil Unrest between May 29, 2020 and June
12, 2020, THE CHICAGO POLICE DEPT. (February 2021) https://home.chicagopolice.org/wp-
content/uploads/2021/02/AAR_FINAL_2-4-21.pdf (hereinafter “CPD After Action Report”).
15
   Id. at 5.
16
   Id. at 6, 9.
17
   Id. at 8.
18
   Id.
19
   Both the Inspector General and the Independent Monitor detail CPD’s force-related violations making CPD’s
own omission all the more troubling. See also Report on Chicago’s Response to George Floyd Protests and Unrest,


                                                      41
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described during federal court proceedings—yet it described in some detail the harm suffered by

the business community.20 The report notes that in the wake of the 2020 uprisings, the CPD

secured donations of 1,650 ballistic helmets with Kevlar protection and laser beam reflections

that will protect officers from “blunt trauma.”21 Yet it is silent about any concrete action the

CPD plans to take to protect protesters from further harm at the hands of CPD officers.

        161.     Also in February 2021, the Officer of the Inspector General for the City of

 Chicago released a Report on Chicago’s Response to George Floyd Protests and Unrest.22 That

 report was based on “thousands of documents” and more than 70 interviews conducted with

 CPD officials.23 The OIG Protest Report also relied upon testimony from protesters provided

 during federal court proceedings, arrest reports, and an analysis of over 100 hours of body worn

 camera footage.24 Based on this information, the OIG made the following findings:

                      i. CPD made more than 1,500 related arrests between May 29 and June 7,

                         2020. The OIG documented that CPD failed to train officers on mass

                         arrest procedures and held protesters “without proper documentation” and

                         “threatened” the safety of protesters through lengthy delays in

                         transportation and processing.25 The report further describes CPD’s arrest




CITY OF CHICAGO OFFICE OF INSPECTOR GENERAL, 15 (February 18, 2021) https://igchicago.org/wp-
content/uploads/2021/02/OIG-Report-on-Chicagos-Response-to-George-Floyd-Protests-and-Unrest.pdf (“Many
participants and observers who gave testimony after these events described dangerous baton strikes and other
reportable uses of force that are not reflected in CPD’s reported data. CPD’s after-action report does not
acknowledge and does not attempt to rebut these claims.”).
20
   CPD After Action Report, at 6.
21
   Id.at 14.
22
   Report on Chicago’s Response to George Floyd Protests and Unrest, CITY OF CHICAGO OFFICE OF INSPECTOR
GENERAL, 15 (February 18, 2021) https://igchicago.org/wp-content/uploads/2021/02/OIG-Report-on-Chicagos-
Response-to-George-Floyd-Protests-and-Unrest.pdf (Hereinafter “OIG Protest Report”)
23
   Id. at 6.
24
   Id. at 7.
25
   Id. at 9.

                                                      42
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                     related records as “uneven and incomplete.”26

                 ii. CPD officers detained protesters for prolonged time periods: “on average,

                     arrestees were detained for a total of 14.0 hours. The briefest total

                     detention time recorded was 1.2 hours and the longest was 53.3 hours.”27

                 iii. The OIG Protest Report contains extensive documentation regarding

                     CPD’s failures to “fulfill its force reporting obligations” and to “provide

                     clear and consistent guidance to officers on reporting obligations.”28 The

                     report notes that there was significant confusion among “CPD’s highest

                     ranks” and “rank and file” members about the reporting requirements

                     during the uprisings. As a result, “CPD underreported uses of baton

                     strikes and manual strikes, further resulting in an inadequate record of

                     severe and potentially out of policy uses of force.”29

                 iv. Superintendent Brown provided CPD officers with a general authorization

                     for the use of OC spray when he considered “looting and violence” to be

                     widespread throughout the city.30 He further authorized the use of OC

                     spray during “situations involving large crowds acting as non-compliant

                     groups, active resisters and assailants.”31

                  v. On May 30, Mayor Lori Lightfoot herself authorized the use of O.C. spray

                     against protesters at Trump Tower, many of whom were peaceful




26
   Id.
27
   Id. at 91.
28
   Id. at 9.
29
   Id.
30
   Id. at 108
31
   Id. at 109.

                                               43
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                      protesters.32

                  vi. Despite these relatively limited authorizations, CPD officers reported that

                      they used OC spray on peaceful protesters, including in efforts to “move

                      protesters off the bridges” and “to slow down the movement of protesters

                      through the city.”33

                 vii. The OIG report also documented that CPD’s SWAT team deployed OC

                      spray against crowds 85 times on May 30, 2020.34 However, because of

                      the lack of accurate reporting, CPD officers used personal OC spray (and

                      failed to report it) on far more occasions.

                 viii. The OIG Protest Report further describes how CPD exempted from review

                      force the CPD officers used during the uprisings. None of the CPD

                      officer’s uprising force was reviewed by the Force Review Division,

                      which conducts internal and non-disciplinary reviews of force in order to

                      ensure “reporting obligations are met” and to identify “tactical, equipment

                      or policy concerns.”35 As a result, CPD officer use of force during the

                      uprisings was not subject to any meaningful accountability process. The

                      report further notes that multiple reports documenting mass use of OC

                      spray at different locations contained identical language justifying the use

                      OC spray.36 The use of boiler plate language to justify CPD officer use of

                      force against different people in different locations further demonstrates



32
   Id.
33
   Id.
34
   Id. at 49.
35
   Id. at 110.
36
   Id. 111.

                                                44
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                     the complete breakdown of reporting and force related accountability

                     processes.

                 ix. The OIG Protest Report describes other forms of CPD violence during the

                     uprisings. Specifically, the report documents that “protesters reported

                     seeing and experiencing apparently indiscriminate uses of force by CPD

                     members. They describe seeing CPD members tackle, punch and use

                     batons to strike peaceful protesters in the head and neck.”37

                  x. CPD policy restricts the circumstances under which officers can use baton

                     strikes, yet despite the existence of this policy the OIG found evidence of

                     widespread policy violations during the uprisings.38 Under CPD policy,

                     baton strikes to the head are considered lethal force and can only be used

                     against people attempting to harm CPD officers. The OIG documented

                     that CPD officers both failed to accurately report these instances of lethal

                     force and that “reports from community members who participated in the

                     protests suggest that CPD members’ use of batons was both substantially

                     more widespread and more dangerous than indicated . . . by officers.”39

                 xi. The OIG Protest Report describes how, given CPD’s reporting failures, it

                     is difficult to specifically quantify the number of protesters who were

                     subject to lethal force by CPD officers, but notes that community member

                     and protesters provided compelling narratives of this widespread policy

                     violation. “. . .[C]ommunity members. . . describe multiple instances of



37
   Id. at 37.
38
   Id. at 95.
39
   Id. at 113

                                              45
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                          baton strikes. One community member reported seeing people beaten

                          with batons at the protests “tens of times.” Another described seeing

                          someone beaten “on the ground while handcuffed.” The testimonials in

                          court included descriptions of protesters beaten with batons “until they

                          were bleeding,” and protesters struck with batons in response to minor

                          provocations by someone else (e.g., the throwing of a water bottle). Ghian

                          Foreman, President of the Chicago Police Board, gave a public statement

                          that he was “a victim of police aggression” when he was struck five times

                          in the legs with batons while walking through the scene of a protest.”40

                   xii.   The OIG Protest Report notes that on May 30, 2020, “CPD officers used

                          their batons to push protesters off the bridge onto Lower Wacker Drive.

                          Accounts from protesters on the bridge note that they did not hear a

                          dispersal order before officers began to push them with batons. . . During

                          the push, protesters described being beaten with officers’ batons, punched,

                          and kicked as CPD tried to clear the bridge”41

                   xiii. The OIG report includes summaries of body worn camera footage that

                          further documents the policy and practice violations that give rise to the

                          Plaintiffs’ claims. Including:

                                     a. During one incident, body worn camera depicts CPD

                                         officers ignoring a protester who requested seizure

                                         medication. After the protester had an apparent seizure in a




40
     Id. at 114.
41
     Id.at 41.

                                                   46
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                                     CPD vehicle, and while observing the protester lying face

                                     down in the vehicle, the CPD officer was captured on video

                                     saying “chick’s having a seizure I guess.” The officer

                                     notes the protester is apparently breathing and states that

                                     nothing else can be done.42

                                 b. A CPD officer is recorded as saying to a passive protester

                                     “I will tase you if you move, do you hear me?”43

                                 c. A CPD officer called a protester a “little bitch” after they

                                     complained about pain.44

                                 d. A CPD officer was recorded telling other officers that he

                                     made a protester cry by telling them they would be raped in

                                     jail given their small size.45

                                 e. A CPD officer was recorded hitting a protester three times

                                     on the head while the protester was laying face down on the

                                     floor. These strikes included punches to the head and neck

                                     area.46

                 xiv. The OIG Protest Report describes how CPD’s operational response to the

                      protests “crippled the accountability processes from the start.”47 The

                      accountability process was defeated by CPD’s failure to ensure that all




42
   Id. at 51.
43
   Id. at 51.
44
   Id.
45
   Id.
46
   Id. at 114.
47
   Id. at 9.

                                               47
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                           officers had functioning body warn cameras and CPD officers’ “obscuring

                           their badge numbers and nameplates” during the protests.48

        162.     In July 2021, the Independent Monitor Team (IMT) responsible for overseeing the

 City’s compliance with the consent decree governing CPD operations issued a 464-page report

 that addresses the City’s and the CPD’s “response to protest and unrest under the consent

 decree.”49 That report contains the following findings:

                      i.   The IMT Protest Report describes hearing “from many community

                           member who expressed new fears, frustration, confusion, pain and anger

                           regarding their experiences with officers during protests.”50 Protesters

                           describe to the IMT how CPD officers verbally abused them, pushed and

                           shoved them, tackled them to the ground, pulled their hair, struck them

                           with batons, fists, or other objects and sprayed them with pepper spray.

                           Protesters also described enduring physical and mental and emotional

                           injuries as result of CPD’s violent, abusive conduct, including head

                           injuries and ongoing emotional trauma.51

                     ii. The IMT Protest Report further concluded that CPD and the City did not

                           have the “polices, reporting practices, training, equipment, data analysis,

                           community engagement or inter agency coordination required to respond

                           effectively” to the protests.52



48
   Id. at 10.
49
   Illinois v. City of Chicago, 17-CV-6260, 6 (N.D. Ill. 2021) (Special Report: The City of Chicago’s and the
Chicago Police Department’s Responses to Protest and Unrest Under the Consent Decree) (Hereinafter “IMT Protest
Report”).
50
   Id. at 12.
51
   Id. at 13.
52
   Id. at 14.

                                                      48
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                 iii. The IMT Protest Report documented that “some officers engaged in

                     various levels of misconduct and excessive force.”53 The IMT also reports

                     that because of CPD’s officers’ failure to wear body cameras and comply

                     with reporting requirements “the actual number of use of force incidents

                     may be unknowable, including how often O.C. spray was used.”54

                 iv. The IMT described how CPD officers were “deployed without their

                     equipment” including body worn cameras.55 “According to CPD, there

                     were at least 5,676 officers who responded to protests and unrest between

                     May 1, 2020, and August 12, 2020, without body-worn cameras. The

                     IMT described how “supervisors instructed [officers] to not have the

                     cameras on the entire time while responding to crowds during 12-hour

                     shifts to preserve battery life.”56

                                 a. The IMT found that what body camera footage does exist

                                     often depicted CPD officers violating law and policy

                                     including the following incidents: The IMT described video

                                     footage that reveals “many examples of officers

                                     communicating disrespectfully and using force.”57

                                 b. In one instance the IMT documents footage depicting CPD

                                     officers “charging at people as the crowd disperses . . . One

                                     officer can be seen pushing and nearly tackling a person



53
   Id. at 15.
54
   Id. at 18.
55
   Id. at 14.
56
   Id. at 140
57
   Id. at 56.

                                                49
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                                 who appears to be standing by observing the incident.”58

                              c. “Another video depicts officers pushing and shoving

                                 people after a commotion breaks out and then throwing and

                                 tossing bikes, and another video depicts officers tackling

                                 some people amidst a commotion of pushing and shoving

                                 between people in the crowd and officers.”59

                              d. One video from May 30, 2020 depicts an officer

                                 aggressively pushing, tackling, and fighting with people on

                                 the ground and then arresting people.60 Another video from

                                 the same day show officers pushing, showing, and pulling

                                 people and using batons to push against protesters.

                                 Additional video depicts officers throwing bikes, drawing

                                 their batons at crowds that are dispersing, pushing, and

                                 shoving. In one particularly violent incident “one officer

                                 tries to restrain a woman on the ground, other officers yell,

                                 “Pick her up.” The officer continues to drag the woman a

                                 couple of feet before trying to pick her up.”61

                              e. The IMT describes camera footage depicting CPD officers

                                 denying water to a pregnant, Black protester who CPD

                                 officers arrested. The officers then mocked the women for




58
   Id.
59
   Id.
60
   Id. at 70.
61
   Id. at 71.

                                           50
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                                 her request. The report contrasts the callous disdain the

                                 officers exhibited towards this women with the permissive,

                                 gentle approach officers used with a white male protester

                                 who was allowed to walk away from the same scene merely

                                 because he promised officers he would go home.62

                              f. The IMT Protest Report documents video evidence

                                 demonstrating officers swearing at protesters, threatening

                                 them, and calling protesters slurs like “pussy ass bitch” and

                                 “big ass bitch.”63

                              g. IMT reviewed videos that “also depicted many instances of

                                 officers using force, including baton strikes and punches.

                                 For example, one video shows an officer jogging into the

                                 crowd. He then appears to turn toward someone, then

                                 grabs and starts punching the person. In another instance,

                                 an officer gets into a tug-of-war with someone over a bike,

                                 and then appears to throw the bike at the person. The

                                 person gets upset, begins walking towards the officer and

                                 stops. Then the officer walks toward the person, further

                                 closing the gap between them, and shoves the person.

                                 There was also footage of an officer swinging his baton like

                                 a baseball bat.”64 The IMT Protest Report also describes



62
   Id. at 71.
63
   Id. at 71, 77.
64
   Id. at 95.

                                           51
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                                 CPD officers’ indiscriminate use of O.C. spray.65

                              h. The IMT noted that videos also depicted CPD officers

                                 engaging in inherently escalatory behavior. In “several

                                 videos where officers appeared to advance, narrowing the

                                 spatial gap between the officers and the crowd, but gave the

                                 crowd no prior or subsequent instruction that would justify

                                 the officers getting closer (i.e., communicating the need for

                                 the crowd to move back).66 Additionally, “there were times

                                 when officers had their batons in their hands even when the

                                 crowd was docile or, in several instances, when officers

                                 were not near a crowd at all. Officers would often walk

                                 toward crowds with them.”67 “[S]ome officers may be

                                 more willing to start disrespectful interactions with people

                                 in crowds—or worse.”68

                              i. Body worn camera footage also revealed the depth of the

                                 animus CPD officers hold against protesters. According to

                                 the IMT’s review “in a number of instances, CPD officers

                                 made disparaging remarks about community members. For

                                 instance, officers said things such as the following:

                                 “Somethin’ gonna happen tonight. I wanna hit this mother




65
   Id. at 95.
66
   Id. at 129.
67
   Id. at 130.
68
   Id. at 193.

                                           52
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                                          fucker right here. There’s more people coming. They

                                          think they’re something. They all need they ass whooped.

                                          It’s embarrassing.”69 “In other instances, [CPD officers

                                          made] common references to community members as

                                          ‘animals’ and ‘savages,’ particularly when referencing

                                          people who were looting or participating in violence.”70

                                            LEGAL CLAIMS

                                     COUNT I – 42 U.S.C. § 1983
                        Violation of the Fourth Amendment – Excessive Force
                            (All Plaintiffs Against All Defendant Officers)

           163.    Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

           164.    Count I is alleged against all Defendant Officers.

           165.    As described in detail above, the Defendant Officers used unreasonable and

excessive force, without legal cause, against Plaintiffs and/or failed to intervene to prevent the

use of excessive force against Plaintiffs, in violation of Plaintiffs’ rights under the Fourth and

Fourteenth Amendments to the United States Constitution.

           166.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiffs’ clearly established

constitutional rights.

           167.    The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiffs’ constitutional rights, bodily injury, pain, suffering, mental distress,

anguish, humiliation, and loss of personal freedom, as set forth more fully above.




69
     Id. at 194.
70
     Id.

                                                     53
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                                COUNT II – 42 U.S.C. § 1983
 Violation of the First Amendment – Freedom of Speech and Assembly, Intimidation and
                                   Retaliatory Use of Force
                       (All Plaintiffs Against All Defendant Officers)

          168.   Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

          169.   Count II is alleged against all Defendant Officers.

          170.   As described in detail above, Plaintiffs were participating in lawful,

constitutionally protected activity on the public streets of the City of Chicago.

          171.   The actions of the Defendant Officers described above violated Plaintiffs’ rights

to freedom of speech and assembly guaranteed by the First and Fourteenth Amendments to the

United States Constitution, in that Plaintiffs were abruptly prevented from further exercising

their rights and suffered retaliation for having exercised their rights.

          172.   The Defendant Officers retaliated against Plaintiffs for engaging in protected

speech by subjecting them to excessive force without legal justification and/or failing to

intervene to prevent the use of excessive force. Plaintiffs’ protected speech was the substantial

and motivating factor for the Defendant Officers’ use of force against them. The Defendant

Officers’ actions were intended to make Plaintiffs and other people engaging in constitutionally-

protected speech and assembly at the protests wary of continuing to engage in such protected

activities in the future and specifically to chill their rights guaranteed under the First

Amendment.

          173.   At all relevant times, the Defendant Officers were aware that Plaintiffs were

engaged in constitutionally-protected speech and assembly when they violated their rights. The

misconduct described in this Count was objectively unreasonable and was undertaken

intentionally, with malice and knowing disregard for Plaintiffs’ clearly established constitutional

rights.

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          174.   The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiffs’ constitutional rights, bodily injury, pain, suffering, mental distress,

anguish, humiliation, and loss of personal freedom, as set forth more fully above.

                                    COUNT III – 42 U.S.C. § 1983
                         Violation of the Fourth Amendment – False Arrest
                          (Plaintiff Romano Against Relevant Defendants)

          175.   Plaintiff repeats and re-alleges the foregoing paragraphs as if fully set forth

herein.

          176.   Count III is alleged by Plaintiff Romano against Defendant Officer Charles

Flaster, Defendant Officer Leonard Shoshi, and the Officer depicted in Exhibit D.

          177.   The actions by the Defendant Officers in falsely detaining, arresting, and

imprisoning Plaintiff without reasonable suspicion or probable cause and/or failing to intervene

to prevent the false arrest of Plaintiff violated Plaintiff’s Fourth and Fourteenth Amendment

rights to be free from unreasonable search and seizure.

          178.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiff’s clearly established

constitutional rights.

          179.   The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiff’s constitutional rights, bodily injury, pain, suffering, mental distress,

anguish, humiliation, and loss of personal freedom, as set forth more fully above.

                              COUNT IV – 42 U.S.C. § 1983
  Violation of the Fourth and Fourteenth Amendments – Unlawful Search and Seizure of
                                        Property
  (Plaintiffs Sarah Kroth, Malcolm Robinson, and Patrick Romano Against All Relevant
                                      Defendants)

          180.   Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.



                                                   55
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         181.   Count IV is alleged against Defendant Officer Floyd, Defendant Officer Shoshi,

Defendant Officer Flaster, Defendant Officer Luis Laurenzana, the Officer in Exhibit D, the

Officer in Exhibit E, and the Officer in Exhibit F.

         182.   The actions by the Defendant Officers in knowingly searching and seizing

Plaintiffs’ property during the events described in the Complaint, without a warrant, probable

cause, or legal justification, violated Plaintiffs’ right to be free from unreasonable search and

seizure of Plaintiffs’ property guaranteed by the Fourth and Fourteenth Amendments.

         183.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiffs’ clearly established

constitutional rights.

         184.   As a direct and proximate result of the Defendant Officers’ actions, Plaintiffs

suffered damages, including the loss of and damage to their property, as set forth more fully

above.

                                COUNT V – 42 U.S.C. § 1983
                Conspiracy to Deprive Plaintiffs of Their Constitutional Rights
                       (All Plaintiffs Against All Defendant Officers)

         185.   Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

         186.   Count V is alleged against all Defendant Officers.

         187.   Each of the Defendant Officers, acting in concert with other known and unknown

co-conspirators, conspired by concerted action to accomplish an unlawful purpose by unlawful

means.

         188.   Each of the Defendant Officers took concrete steps to enter into an agreement to

unlawfully use force on Plaintiffs, to detain and arrest Plaintiff Romano, and/or to unlawfully




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seize their property, knowing they lacked reasonable suspicions and/or probable cause to do so,

and for the purpose of violating Plaintiffs’ First, Fourth, and Fourteenth Amendment rights.

        189.    In furtherance of this conspiracy, each of the Defendant Officers committed

specific overt acts, misusing their police powers for the purpose of violating Plaintiffs’ rights.

They accomplished this goal by using excessive force on Plaintiffs and unlawfully arresting

Plaintiff Romano.

        190.    Each individual Defendant Officer is therefore liable for the violation of

Plaintiffs’ rights by any other individual Defendant Officer.

        191.    As a direct and proximate result of the Defendant Officers’ conspiracy, Plaintiffs

suffered damages, including bodily injury, pain, suffering, mental distress, anguish, humiliation,

and loss of personal freedom as set forth more fully above.

                               COUNT VI – 42 U.S.C. § 1983
                                   Failure to Intervene
   (All Plaintiffs Against Defendant Superintendent Brown and All Defendant Officers)

        192.    Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

        193.    Count VI is alleged against all Defendant Officers and Defendant Superintendent

David Brown in his individual capacity.

        194.    During the events described above, the Defendants stood by without intervening

to prevent the violation of Plaintiffs’ constitutional rights under the First, Fourth, and Fourteenth

Amendments, even though they had the opportunity and duty to do so.

        195.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for Plaintiffs’ clearly established

constitutional rights.




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       196.    As a direct and proximate result of the Defendants’ failure to intervene, Plaintiffs

suffered damages, including bodily injury, pain, suffering, mental distress, anguish, humiliation,

and loss of personal freedom as set forth more fully above.

                               COUNT VII – 42 U.S.C. § 1983
                                Unlawful Policy and Practice
   (All Plaintiffs Against Defendants City of Chicago and Superintendent David Brown)

       197.    Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

       198.    Count VII is alleged against Defendants City of Chicago and Superintendent

David Brown in his official capacity.

       199.    The Defendant Officers acted under the color of law, and under the authority of

one or more interrelated de facto policies, practices, and/or customs of the Chicago Police

Department, to violate Plaintiffs’ rights as set forth in the preceding claims.

       200.    The City of Chicago through its Police Department, Police Superintendent, Police

Board, Mayor, and City Council has interrelated de facto policies, practices, and customs which

included, inter alia:

                   a. Using excessive force against protesters without justification, including

                        but not limited to: beating individuals with batons; beating protesters

                        through punching, kicking, kneeing, and stomping; using chemical agents

                        like pepper spray and tear gas; tackling protesters to the ground; and

                        hitting individuals with bikes;

                   b. Using lethal force against protesters, including but not limited to striking

                        protesters on the head and neck with batons;

                   c. Retaliating against protesters who record the police and/or speak out

                        against police violence;



                                                   58
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             d. Escalating encounters through taunts, slurs, pushes, shoves, and acts that

                illustrate CPD’s animus toward protesters;

             e. Falsely arresting protesters for engaging in protected speech and

                assembly;

             f. Targeting those the CPD has identified as, or perceives to be, leaders,

                protest marshals, legal observers, and medics for excessive force and false

                arrest;

             g. Giving protesters no reasonable opportunity to leave and/or trapping

                protesters in enclosed areas;

             h. Using chemical agents like pepper spray and/or tear gas without prior

                warning;

             i. Breaking, stealing, or otherwise disposing of protesters’ belongings,

                including bikes, cameras, phones, glasses, goggles, and backpacks;

             j. Failing to intervene to prevent police violence and other forms of

                misconduct;

             k. Failing to hold officers accountable who violate protesters’ rights;

             l. Failing to train officers on how to appropriately respond to protesters;

             m. Maintaining, condoning, and failing to take any steps to end the code of

                silence in the CPD that allows Chicago police officers to violate protesters

                and other civilians’ rights with impunity;

             n. Maintaining, condoning, and failing to take appropriate steps to prevent

                the abuse of civilians by unidentified officers;




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                   o. Failing to put in place appropriate policies and practices to require police

                       officers to identify themselves when making physical contact with the

                       public;

                   p. Failing to identify police officers who are accused of misconduct so that

                       their conduct may be appropriately investigated and officers disciplined if

                       necessary;

                   q. Failing to adequately supervise police officers so that they are not allowed

                       to commit misconduct under the cloak of anonymity.

       201.    The interrelated policies, practices, and customs alleged above are or should be

well-known within the CPD.

       202.    The CPD is aware of the harms suffered by Plaintiffs and other protesters as a

result of the interrelated policies, practices, and customs alleged above.

       203.    The City has implemented, enforced, encouraged, and sanctioned CPD’s policies,

practices, and customs alleged above in violation of Plaintiffs’ and other protesters’ First, Fourth,

and Fourteenth Amendment rights.

       204.    The City has acted with deliberate indifference to the First, Fourth, and

Fourteenth Amendment rights of Plaintiffs. As a direct and proximate result of the acts and

omissions of the City and CPD, the First, Fourth, and Fourteenth Amendment rights of Plaintiffs

have been violated.

       205.    Defendant Superintendent Brown, in his role as Superintendent of the CPD, was

the final policymaker for CPD’s response to the protests.

       206.    Defendant Superintendent Brown developed and maintained policies, practices,

procedures, and customs of Chicago Police officers using excessive force against protesters and



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falsely arresting protesters, exhibiting deliberate indifference to the constitutional rights of

Plaintiffs, including but not limited to those policies, practices, procedures, and customs

described above, which caused the violation of Plaintiffs’ rights as described herein and the

resultant damages suffered.

       207.    Defendant Superintendent Brown had the power to prevent or aid in the

prevention of the wrongs done and conspired to be done as described herein, yet failed or refused

to do so, in violation of 42 U.S.C. § 1983.

       208.    Upon information and belief, Defendant Superintendent Brown was deliberately

indifferent to the need for further training, supervision, or discipline related to the use of force

against protesters, as reflected by the continued maintenance of the policies, practices, and

customs of using excessive force that was carried out by Chicago Police officers under his

control.

       209.    The actions and omissions of Defendant Superintendent Brown as described

herein were done with knowing disregard for the constitutional rights of Plaintiffs. Defendant

Superintendent Brown acted maliciously, willfully, wantonly, and in reckless disregard of

Plaintiffs’ rights under the Constitution.

       210.    The policies, practices, procedures, and customs of the CPD were the direct and

proximate cause of the violations of Plaintiffs’ constitutional rights and the damages they

suffered, including bodily injury, pain, suffering, mental distress, anguish, and loss of personal

freedom, as set forth more fully above.

                            COUNT VIII – Illinois State Law Claim
                              Violations of the Illinois Constitution
                         (All Plaintiffs Against All Defendant Officers)

       211.    Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.



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        212.   Count VIII is alleged against all Defendant Officers.

        213.   The actions taken by Defendant Officers denied Plaintiffs their state constitutional

rights to be free from an unreasonable seizure and to free expression and assembly in a peaceable

manner; as provided by the Illinois Constitution, Article I, sections 1, 2, 4, 5, and 6, and were a

direct and proximate cause of Plaintiffs’ injuries as set forth above.

        214.   The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiffs’ Illinois State Constitutional Rights.

                             COUNT IX – Illinois State Law Claim
                                       Assault and Battery
                         (All Plaintiffs Against All Defendant Officers)

        215.   Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

        216.   Count IX is alleged against all Defendant Officers.

        217.   As described in detail above, the Defendant Officers physically abused Plaintiffs

by, inter alia, shoving bicycles into them, striking them with bicycles, striking and beating them

with batons, using chemical agents against them, stomping on their hands, legs, and body, and

kicking them about the body.

        218.   The actions of the Defendant Officers were affirmative acts and threatened to

cause or did cause an unpermitted contact of a harmful and/or offensive nature, to which

Plaintiffs did not consent, and thus constitute assault and battery under laws of the State of

Illinois.

        219.   The actions of the Defendant Officers were committed in a willful and wanton

manner.

        220.   The Defendant Officers’ actions directly and proximately caused injury and

damage as set forth above.



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                              COUNT X – Illinois State Law Claim
                          Intentional Infliction of Emotional Distress
                         (All Plaintiffs Against All Defendant Officers)

       221.    Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

       222.    Count X is alleged against all Defendant Officers.

       223.    The conduct and actions of Defendant Officers set forth above were extreme and

outrageous. The Defendants’ actions were rooted in an abuse of power and authority, and were

done intentionally, willfully and wantonly, and/or knowing that there was a high probability that

their conduct would cause Plaintiff severe emotional distress as set forth above.

       224.    As a direct and proximate cause of the extreme and outrageous conduct of the

Defendant Officers, Plaintiffs were injured and experienced severe emotional distress

constituting intentional infliction of emotional distress under Illinois State law.

                             COUNT XI – Illinois State Law Claim
                                           Conspiracy
                         (All Plaintiffs Against All Defendant Officers)

       225.    Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

       226.    Count XI is alleged against all Defendant Officers.

       227.    The Defendant Officers and un-sued co-conspirators, together reached an

understanding, engaged in and continue to engage in a course of conduct, and otherwise jointly

acted and/or conspired among and between themselves to violate Plaintiff’s rights guaranteed by

the Illinois constitution and to be free from assault, battery, excessive force, false arrest, and the

intentional infliction of severe emotional distress on Plaintiffs.

       228.    In furtherance of this conspiracy or conspiracies, Defendant Officers, together

with their un-sued co-conspirators, committed the overt acts set forth above.




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          229.   The Defendant Officers acted with malice, willfulness, and reckless indifference

to Plaintiffs’ rights.

          230.   The Defendant Officers are therefore liable for the violation of Plaintiffs’ rights

by any other individual Defendant.

          231.   The conspiracy or conspiracies were and are continuing in nature.

          232.   As a direct and proximate result of the Defendant Officers’ conspiracy, Plaintiffs

suffered damages, including mental distress, anguish, humiliation, violations of their rights, and

legal expenses, as set forth more fully above.

                                    COUNT XII – State Law Claim
                                            False Arrest
                         (Plaintiff Romano Against All Relevant Defendants)

          233.   Plaintiff repeats and re-alleges the foregoing paragraphs as if fully set forth

herein.

          234.   Count XII is alleged by Plaintiff Romano against Defendant Officer Charles

Flaster, Defendant Officer Leonard Shoshi, and the Officer Depicted in Exhibit D.

          235.   As described in detail above, the Defendant Officers falsely detained, arrested,

and imprisoned Plaintiff Romano without reasonable suspicion or probable cause and without

having reasonable grounds to believe that an offense was committed by Plaintiff Romano.

          236.   The misconduct in this Count was undertaken intentionally, with malice,

willfulness, and reckless indifference to the Plaintiff’s rights.

          237.   The actions of the Defendant Officers were the direct and proximate cause of the

violations of Plaintiffs’ rights, bodily injury, pain, suffering, mental distress, anguish,

humiliation, and loss of personal freedom, as set forth more fully above.

                                  COUNT XIII – State Law Claim
                                     Respondeat Superior

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       238.      Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

       239.      Count XIII is alleged against Defendant City of Chicago.

       240.      In committing the acts alleged in this Complaint, each of the individual Defendant

Officers were members of, and agents of, the CPD, acting at all relevant times within the scope

of their employment.

       241.      Defendant City of Chicago is liable as principal for all torts in violation of state

law committed by its agents.

                                  COUNT XIV – State Law Claim
                                       Indemnification

       242.      Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

       243.      Count XIV is alleged against Defendant City of Chicago.

       244.      In Illinois, pursuant to 735 ILCS 10/9-102, public entities are directed to pay any

tort judgment for compensatory damages for which employees are liable within the scope of their

employment activities.

       245.      The Defendant Officers acted within the scope of their employment in committing

the misconduct described herein. Therefore, Defendant City of Chicago is liable as their

employer for any resulting damages or award of attorney’s fees.

                                      REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs requests that this Court enter judgment in his favor against the

Defendants in the following manner:

       1.        Award Plaintiffs compensatory and punitive damages.

       2.        Award Plaintiffs reasonable attorneys’ fees, costs, and expenses pursuant to 42

U.S.C. § 1988.



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       3.     Award Plaintiffs such other and further relief as this Court may deem appropriate

and just.

                                          JURY DEMAND

       Plaintiffs demand trial by jury.



Date: November 30, 2023                            Respectfully submitted,

                                                   /s/ Nora Snyder
                                                   Nora Snyder
                                                   Brad J. Thomson, Janine Hoft,
                                                   Ben H. Elson, Hakeem Muhammad
                                                   People’s Law Office
                                                   1180 N. Milwaukee Ave.
                                                   Chicago, IL 60642
                                                   773-235-0070

                                                   /s/ Jonathan Manes
                                                   Jonathan Manes
                                                   MacArthur Justice Center
                                                   160 E. Grand Ave, 6th Fl.
                                                   Chicago, IL 60611
                                                   312-503-0012


                                                   Counsel for Plaintiffs




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